     Case 3:16-cv-02930-L Document 1 Filed 10/18/16               Page 1 of 13 PageID 1


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

KEYCORP, LLC,                                     §
                                                  §
               Plaintiff,                         §
                                                  §
v.                                                §
                                                  §         CIVIL ACTION NO. 3:16-cv-2930
GIGI'S HOLDINGS, LLC AND GIGI'S                   §
FRANCHISING, LLC n/k/a A&G                        §
FRANCHISING, LLC,                                 §
                                                  §
               Defendants.                        §

                            PLAINTIFF'S ORIGINAL COMPLAINT


       Plaintiff KeyCorp, LLC ("KeyCorp") files its Original Complaint against Defendants

Gigi's Holdings, LLC and Gigi's Franchising, LLC n/k/a A&G Franchising, LLC ("Defendants")

in accordance with the Federal Rules of Civil Procedure, and respectfully shows the Court as

follows:

                                               I.
                                            PARTIES

       1.      Plaintiff KeyCorp, LLC is a Delaware limited liability company and a citizen of

the state of Texas by virtue of its members' citizenship.

       2.      Defendant Gigi's Holdings, LLC ("Holdings") is a Delaware limited-liability

company registered in the state of Texas and may be served with process by serving its registered

agent, National Registered Agents, Inc., 1999 Bryan St., Ste. 900, Dallas, Texas 75201.

       3.      Defendant Gigi's Franchising, LLC n/k/a A&G Franchising, LLC ("Franchising")

is a Tennessee limited liability company with its principal place of business in Tennessee.

Franchising does not have a registered agent for service of process in the State of Texas. Service




PLAINTIFF'S ORIGINAL COMPLAINT                                                              Page 1
     Case 3:16-cv-02930-L Document 1 Filed 10/18/16                   Page 2 of 13 PageID 2


of process on Franchising may be made according to the laws of the State of Texas by serving

the Secretary of State.


                                            II.
                                 JURISDICTION AND VENUE

       4.      The Court has jurisdiction over this lawsuit under 28 U.S.C. § 1332(a)(1) because

KeyCorp and Defendants are citizens of different U.S. states, and the amount in controversy

exceeds $75,000, exclusive of interest and costs. KeyCorp is a citizen of Texas for purposes of

diversity jurisdiction because its members are citizens of Texas. Gigi's Holdings, LLC is the sole

member of Gigi's Franchising, LLC n/k/a A&G Franchising, LLC, and Gigi's Holdings, LLC's

members are Alan Thompson and Gina Butler, who are citizens of Tennessee, and For 6, LLC,

whose members are all citizens of Tennessee.

       5.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to this claim occurred in this district.


                                           III.
                                  CONDITIONS PRECEDENT

       6.      All conditions precedent have been performed or have occurred.


                                            IV.
                                   FACTUAL BACKGROUND

       7.      On May 3, 2016, KeyCorp and Defendants entered into an Asset Purchase

Agreement (the "Agreement"). Defendants were the franchisors to approximately 63 United

States franchisees operating approximately 92 cupcake stores in the United States, and the

owners of various intellectual property rights, cash, and other assets used to operate such

business. Defendants sold their assets to KeyCorp in exchange for $6 million, paid in $3.6

million cash and a note receivable in the amount of $2,400,000.00.


PLAINTIFF'S ORIGINAL COMPLAINT                                                                     Page 2
      Case 3:16-cv-02930-L Document 1 Filed 10/18/16                       Page 3 of 13 PageID 3


        8.       In the months prior to closing this transaction, KeyCorp expended hundreds of

thousands of dollars in conducting its legal and business due diligence. This process took several

months and required KeyCorp to retain additional management personnel and industry experts

and advisors.      KeyCorp's assembled team in turn reviewed, evaluated and relied on the

information and materials furnished by Defendants, and as documented in the Asset Purchase

Agreement and Disclosure Schedules.

        9.        However, after the transaction closed, KeyCorp discovered that Defendants had

made several material misrepresentations to KeyCorp with the intent and purpose of inducing

KeyCorp into signing the Agreement and/or tendering a purchase price far in excess of what

KeyCorp would have paid absent Defendants' misrepresentations. KeyCorp looked to and relied

upon these misrepresentations in its negotiations and its decision to execute the Agreement. It

was only after KeyCorp signed the Agreement and the parties' transaction closed that KeyCorp

discovered Defendants' deception.

        10.      Prior to filing suit, KeyCorp raised these issues with Defendants and invoked

Keycorp's contractual right to indemnification under the Agreement, which obligates Defendants

to indemnify KeyCorp for any and all losses suffered, sustained, incurred or required to be paid

by reason of any false representation or warranty made by Defendants, any failure to perform

under the Agreement, any Excluded Liability, 1 in addition to other circumstances. Defendants

have failed to respond to KeyCorp's claims for indemnification, thus forcing Keycorp to file this

lawsuit.




1
  Unless otherwise stated or defined herein, capitalized terms shall have the same meaning as those used in the
parties' Agreement.


PLAINTIFF'S ORIGINAL COMPLAINT                                                                          Page 3
     Case 3:16-cv-02930-L Document 1 Filed 10/18/16               Page 4 of 13 PageID 4


A.     DEFENDANTS MISREPRESENTED THEIR OUTSTANDING OBLIGATIONS
       AND LIABILITIES

       11.     Defendants represented in Section 3.4(b) of the Agreement that, except to the

extent (and not in excess of the aggregate amounts of liabilities) reflected in the Recent Balance

Sheet or as disclosed on Schedule 3.4(b) of the Agreement, Defendants do not have and are not

aware of any liabilities or obligations of any nature, whether absolute, accrued, unmatured,

contingent or otherwise, or any unsatisfied judgments or any unusual or extraordinary

commitments other than trade payables and accrued expenses incurred in the ordinary course of

business since the date of the Recent Balance Sheet.

       12.     However, since the Closing, KeyCorp has been approached by several entities

seeking payment for obligations and/or commitments incurred by Defendants, not KeyCorp,

prior to the date of the Recent Balance Sheet, which were not otherwise disclosed to KeyCorp.

More specifically, several of Defendants' suppliers have approached KeyCorp demanding

payment for inventory that was ordered prior to the Effective Time of the Agreement such that

the referenced obligations, to the extent otherwise valid, should be borne by Defendants, not

KeyCorp.

       13.     These suppliers include FSI, Webb Mason, McCowat Mercer, and PFG.

Combined, these suppliers have approached KeyCorp seeking in excess of $264,420.00 for

inventory that Defendants ordered prior to Closing and for which Defendants are obligated to

pay. At no point prior to or during the course of KeyCorp's negotiations with Defendants or

prior to KeyCorp's execution of the Agreement did Defendants disclose these outstanding claims

for payment.

       14.     Other sections of the Agreement require Defendants to cover these claims for

payment as well.    For example, pursuant to Sections 6.1(c) and 6.1(g) of the Agreement,



PLAINTIFF'S ORIGINAL COMPLAINT                                                              Page 4
     Case 3:16-cv-02930-L Document 1 Filed 10/18/16               Page 5 of 13 PageID 5


Defendants are responsible for all Excluded Liabilities and all events that occurred, conditions

that existed, services that were performed (or were due to have been performed), or the

ownership or operation of the Business prior to the Effective Time of the Agreement. Further,

pursuant to Section 2.4(a)(ii) of the Agreement, KeyCorp assumed only the current liabilities and

accounts payable of Defendants that were included in the Closing Net Working Capital, which

was included in the Agreement as Schedule 1.1. Defendants failed to include any liabilities to

FSI, Webb Mason, McCowat Mercer, and PFG in the Closing Net Working Capital and, as a

result, misrepresented to KeyCorp that such liabilities did not exist. As such, and pursuant to

Sections 2.4(a)(ii), 6.1(c), and 6.1(g) of the Agreement, Defendants are responsible for any

amounts due and owing to FSI, Webb Mason, McCowat Mercer, and PFG, which remain

outstanding.

       15.     On or about September 21, 2016, KeyCorp sent Defendants an Indemnification

Notice requesting that Defendants indemnify KeyCorp and otherwise remit payment to and

resolve the identified suppliers' claims for payment. Despite such notice and request, Defendants

have refused to honor their obligations under the Agreement and are thus in breach.


B.     DEFENDANTS MADE MISREPRESENTATIONS REGARDING THREATENED
       FRANCHISEE CLOSURES, TERMINATIONS, AND TRANSFERS

       16.     Pursuant to Section 3.23 of the Agreement, Defendants also represented that

"[a]ny information furnished to [KeyCorp] by or on behalf of [Defendants] is or when furnished

will be true, correct and complete in all material respects." Further, Defendants represented that

such information would state "all material facts" to make the statements therein not misleading.

       17.     With respect to Section 3.17(m) of the Agreement, Defendants represented that,

except as set forth in Schedule 3.17(m), within the 24 months prior to the date of the Agreement,




PLAINTIFF'S ORIGINAL COMPLAINT                                                              Page 5
     Case 3:16-cv-02930-L Document 1 Filed 10/18/16                 Page 6 of 13 PageID 6


no Franchisee had threatened in writing or orally, to close a store or leave the franchise system.

In Schedule 3.17(m), Defendants disclosed a total of 5 locations.

       18.     Since signing the Agreement, KeyCorp has learned that Defendants knew of

numerous other locations that had threatened to close or leave the franchise system prior to the

parties executing the Agreement As of the date of this filing, KeyCorp has learned of 32

locations that have threatened to close or leave the franchise system, which is six times the

number that Defendants disclosed.        In other words, despite assurances to the contrary,

Defendants furnished information with respect to threatened store closures that was not "true,

correct and complete in all material respects," and otherwise did not state all material facts

required to be stated therein or necessary to make the statements therein not misleading.

       19.     Defendants' misrepresentations regarding the threatened store closings have

caused KeyCorp damages including a loss of current and future revenue. KeyCorp reasonably

relied on Defendants' representations regarding the number of threatened store closures. Had

KeyCorp been aware of additional threatened closures prior to Closing, KeyCorp would not have

completed the transaction using the same valuation methodology that was used to calculate the

purchase price in the Agreement, and very well may not have completed the transaction at all.

KeyCorp's damages as a result of Defendants' misrepresentations regarding the health of the

franchise system and threatened store closures or transfers exceed $1.4 million.


C.     DEFENDANTS MADE MISREPRESENTATIONS REGARDING THE
       NUTRITIONAL INFORMATION SET FORTH ON THEIR LABELS

       20.     Section 3.17(w) of the Agreement provides that Defendants used commercially

reasonable methods compliant with applicable Law to assess the nutritional and caloric value of

its products, and the nutritional information maintained by Defendants with respect to the

products is accurate to a commercially reasonable degree.


PLAINTIFF'S ORIGINAL COMPLAINT                                                              Page 6
      Case 3:16-cv-02930-L Document 1 Filed 10/18/16                         Page 7 of 13 PageID 7


        21.      After Closing, KeyCorp learned that Defendants misrepresented their compliance

with applicable Law related to the nutritional information. Defendants misrepresented that they

were well prepared to assure compliance with Food and Drug Administration ("FDA") menu-

labeling laws with effective dates requiring substantial lead-time, research, and analysis, and

Defendants failed to properly assess the nutritional and caloric value of their products.

Defendants' misrepresentations subject KeyCorp to significant potential liability and will result

in KeyCorp having to spend a significant amount of money to properly assess the nutritional and

caloric values of the products and to come into compliance with applicable FDA laws. Certainly

had KeyCorp known the truth of Defendants' non-compliance, it would have negotiated a

different deal and/or chosen not to enter into any transaction with Defendants.


                                           V.
                        PLAINTIFF'S CLAIMS AGAINST DEFENDANTS

A.      BREACH OF CONTRACT2

        22.      KeyCorp hereby incorporates for all purposes the allegations set forth in

paragraphs 1-21 above.

        23.      The elements of a breach of contract claim under Delaware law are: (1) a

contractual obligation; (2) a breach of that obligation by the defendant; and (3) damages to the

plaintiff resulting from the defendant's breach. See Greenstar, LLC v. Heller, 814 F. Supp. 2d

444, 450 (D. Del. 2011) (WaveDivision Holdings, LLC v. Millennium Digital Media Systems,

L.L.C., Civ. No. 2993–VCS, 2010 WL 3706624, *13 (Del. Ch. 2010)).

        24.      KeyCorp and the Defendants entered into the Agreement on May 3, 2016.

Defendants represented in Section 3.4(b) of the Agreement that, except to the extent (and not in


2
  Section 9.9 of the Agreement specifies that the Agreement shall be construed, enforced, and governed by Delaware
law.


PLAINTIFF'S ORIGINAL COMPLAINT                                                                             Page 7
     Case 3:16-cv-02930-L Document 1 Filed 10/18/16                  Page 8 of 13 PageID 8


excess of the aggregate amounts of liabilities) reflected in the Recent Balance Sheet or as

disclosed on Schedule 3.4(b), they did not have and were not aware of any liabilities or

obligations of any nature, whether absolute, accrued, unmatured, contingent or otherwise, or any

unsatisfied judgments or any unusual or extraordinary commitments other than trade payables

and accrued expenses incurred in the ordinary course of business since the date of the Recent

Balance Sheet.     Prior to Closing, Defendants ordered inventory from FSI, Webb Mason,

McCowat Mercer, and PFG, but they failed to disclose these obligations or liabilities in the

Closing Net Working Capital. As a result, Defendants misrepresented to KeyCorp that such

obligations did not exist. Pursuant to Sections 2.4(a)(ii), 6.1(c), and 6.1(g) of the Agreement,

Defendants are responsible for any outstanding amounts owing to FSI, Webb Mason, McCowat

Mercer, and PFG. Despite written notice, Defendants have failed to honor their obligations to

these suppliers. As a result, Defendants have breached the Agreement and have caused KeyCorp

damages in excess of $264,420.00 insofar as demand is being made on KeyCorp to pay these

amounts.

       25.     Defendants also breached Section 3.17(m) of the Agreement by misrepresenting

the number and identities of the franchise stores that had threatened to close or leave the

franchise system within the 24 months prior to Closing. Defendants' failure to inform KeyCorp

of the additional franchise stores that threatened to close also constitutes a breach of Section 3.23

of the Agreement, which requires Defendants to disclose all material facts and to furnish

information to KeyCorp that is true, correct, and complete in all material respects. Defendants'

misrepresentations were unquestionably material because had KeyCorp known the truth – that 32

or more stores had threatened to close or leave, rather than just 5 – it would have negotiated a

substantially different (i.e., much lower) purchase price, or not done the deal at all.




PLAINTIFF'S ORIGINAL COMPLAINT                                                                 Page 8
     Case 3:16-cv-02930-L Document 1 Filed 10/18/16                   Page 9 of 13 PageID 9


       26.     Additionally, Defendants breached Section 3.23 by providing inaccurate

information with respect to Defendants' compliance and long-lead time preparation for

compliance with FDA menu-labeling laws and nutritional and caloric values of the products.

This conduct was also a breach of section 3.17(w) of the Agreement, which requires that

Defendants use commercially reasonable methods compliant with applicable Law to assess the

nutritional and caloric value of the products and the nutritional information maintained by

Defendants with respect to the products be accurate to a commercially reasonable degree.

Defendants provided inaccurate information regarding the nutritional and caloric values of the

products and their compliance with FDA laws. KeyCorp has been damaged as a result of

Defendants' breach and has been forced to incur significant expenses associated with properly

assessing the nutritional and caloric values of the products and coming into compliance with

FDA laws. Furthermore, Defendants have subjected KeyCorp to potential liability as a result of

the inaccurate nutritional and caloric information, which may lead to additional damages.

Likewise, had KeyCorp known the truth about Defendants' non-compliance it would have

negotiated a different transaction price, or chosen not to do the deal at all.


B.     FRAUDULENT INDUCEMENT

       27.     KeyCorp hereby incorporates for all purposes the allegations set forth in

paragraphs 1-26 above.

       28.     The elements of a fraud claim in Texas are: (1) that a material representation was

made; (2) the representation was false; (3) when the representation was made, the speaker knew

it was false or made it recklessly without any knowledge of the truth and as a positive assertion;

(4) the speaker made the representation with the intent that the other party should act upon it; (5)

the party acted in reliance on the representation; and (6) the party thereby suffered injury.



PLAINTIFF'S ORIGINAL COMPLAINT                                                                Page 9
   Case 3:16-cv-02930-L Document 1 Filed 10/18/16                  Page 10 of 13 PageID 10


Flaherty & Crumrine Preferred Income Fund, Inc., 565 F.3d 200, 212 (5th Cir. 2009) (citing

Ernst & Young, L.L.P. v. Pac. Mut. Life Ins. Co., 51 S.W.3d 573, 577 (Tex. 2001)).

       29.       Defendants knowingly misrepresented and/or omitted several material facts prior

to the execution of the Agreement on May 3, 2016 with the intent to induce KeyCorp into

entering the Agreement and/or paying a price that greatly exceeds what KeyCorp otherwise

would have been willing to pay had it known the truth.

       30.       As set forth above, Defendants knowingly withheld material information or made

affirmative misrepresentations regarding facts that Defendants knew, or certainly should have

known, were material to KeyCorp's price negotiations as well as its ultimate decision to enter

into the transaction with Defendants. In particular:

       (a)       Defendants knowingly and intentionally misrepresented the scope, size, and

       nature of its outstanding liabilities and obligations with respect to particular suppliers

       (e.g., FSI, Webb Mason, McCowat Mercer, and PFG);

       (b)       Defendants knowingly and intentionally misrepresented and withheld material

       information pertaining to the true number and identities of franchisee stores that had

       threatened, prior to Closing, to close or leave the franchise system;

       (c)       Defendants knowingly and intentionally misrepresented and made other, false

       assurances regarding the background checks and vetting processes implemented with

       respect     to   individual   franchisees   by   specifically   failing   to   obtain   proper

       notification/release for performing background checks; and

       (d)       Defendants knowingly and intentionally misrepresented and withheld material

       information pertaining to Defendants' purported compliance and preparation for




PLAINTIFF'S ORIGINAL COMPLAINT                                                                 Page 10
     Case 3:16-cv-02930-L Document 1 Filed 10/18/16              Page 11 of 13 PageID 11


        compliance with FDA menu-labeling Laws and Defendants' assessment of the nutritional

        and caloric value of its products.

        31.     Defendants made the foregoing misrepresentations and material omissions with

the knowledge, intent, and purpose of inducing or otherwise causing KeyCorp to execute the

Agreement and to consummate the resulting transaction by paying an amount far in excess of

what KeyCorp would have paid had Defendants not made such misrepresentations and

omissions.    Alternatively, Defendants made such misrepresentations recklessly without any

knowledge of the truth. Defendants also directly benefitted from such misconduct and unlawful

behavior by receiving monies and reaping a profit that it otherwise would not have received

absent its fraud.


C.      NEGLIGENT MISREPRESENTATION

        32.     KeyCorp hereby incorporates for all purposes the allegations set forth in

paragraphs 1-31 above.

        33.     In addition and in the alternative to its fraudulent inducement claim, KeyCorp

also asserts a claim for negligent misrepresentation against the Defendants.

        34.     Under Texas law, a claim for negligent misrepresentation consists of four

elements: (1) defendant makes a representation in the course of his business, or in a transaction

in which he has a pecuniary interest; (2) defendant supplies "false information" for the guidance

of others in their business; (3) defendant did not exercise reasonable care or competence in

obtaining or communicating the information; and (4) plaintiff suffers pecuniary loss by

justifiably relying on the representation. See Gen. Elec. Capital Corp. v. Posey, 415 F.3d 391,

395-96 (5th Cir. 2005)




PLAINTIFF'S ORIGINAL COMPLAINT                                                            Page 11
     Case 3:16-cv-02930-L Document 1 Filed 10/18/16              Page 12 of 13 PageID 12


       35.     Defendants had an affirmative duty to provide complete and accurate information

with respect to the Agreement and its negotiations with KeyCorp. Defendants breached this duty

by negligently furnishing KeyCorp with false or incomplete information concerning: (i) the

extent and amount of Defendants' outstanding obligations vis-à-vis its suppliers; (ii) the number

of franchisees that had threatened to close or otherwise withdraw from the franchise system; (iii)

Defendants' purported investigation and vetting of the franchisees' backgrounds; and (iv) the

Defendants' and the products' compliance with applicable FDA Laws and the accuracy of the

nutritional and caloric information for the products.

       36.     Defendants failed to        exercise reasonable care with respect to these

misrepresentations and omissions, and KeyCorp justifiably relied on them in entering into the

Agreement and negotiating the price paid.               As a result of Defendants' negligent

misrepresentations, KeyCorp has suffered damages by agreeing to Agreement terms to which it

otherwise would not have agreed to but for Defendants' misrepresentations.


D.     DAMAGES

       37.     As a result of Defendants' misconduct, KeyCorp has suffered the following

injuries and damages:

        (a)    Actual damages;

        (b)    Consequential and incidental damages

        (c)    Lost profits;

        (d)    Lost earnings;

        (e)    Loss of earning capacity;

        (f)    Punitive damages;

        (g)    Attorneys' fees and costs; and

        (h)    Prejudgment and postjudgment interest.


PLAINTIFF'S ORIGINAL COMPLAINT                                                             Page 12
   Case 3:16-cv-02930-L Document 1 Filed 10/18/16                Page 13 of 13 PageID 13


                                              VI.
                                            PRAYER

       WHEREFORE, KeyCorp prays for a judgment against Defendants for actual,

consequential and incidental damages in an amount to be determined at trial, as well as lost

profits, lost earnings, loss of earning capacity, punitive damages, prejudgment and postjudgment

interest, and attorneys' fees and costs. KeyCorp further prays for all other relief the Court deems

appropriate.

                                             Respectfully submitted,


                                             /s/ C. Scott Jones
                                             C. Scott Jones
                                               State Bar No. 24012922
                                               sjones@lockelord.com
                                             Alexandra A. LoCasto
                                               State Bar No. 24087938
                                               alocasto@lockelord.com
                                             LOCKE LORD LLP
                                             2200 Ross Avenue, Suite 2800
                                             Dallas, Texas 75201-6776
                                             (214) 740-8000 (telephone)
                                             (214) 740-8800 (facsimile)

                                             ATTORNEYS FOR PLAINTIFF KEYCORP,
                                             LLC




PLAINTIFF'S ORIGINAL COMPLAINT                                                              Page 13
